                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 MICHAEL MCKENZIE, individually and
 doing business as AMERICAN IMAGE ART,
 an unincorporated dba,

       Plaintiff,
                                                     CIVIL NO. 2:20-cv-00262-NT
       v.

 JAMES W. BRANNAN, as personal
 representative of THE ESTATE OF ROBERT
 INDIANA, and AARON M. FREY, only in
 his official capacity as Attorney General of
 the State of Maine,

        Defendants.

                             JOINT MOTION TO SET TRIAL DATE

       Plaintiff Michael McKenzie, joined by James W. Brannan as personal representative of

the Estate of Robert Indiana, and Aaron M. Frey, in his official capacity as Attorney General of

the State of Maine, through undersigned counsel, respectfully move to set this matter for trial on

a date certain. Undersigned counsel for the parties believe that three days should be set aside for

a trial on the merits and are available April 11 through 15 and April 19 through 22, 2022, if

available on the Court’s calendar.

Date: January 27, 2022                                Respectfully submitted,


 /s/ John J.E. Markham, II                             /s/ Linda Conti,_______________
 John J.E. Markham, II (ME Bar No. 2674)               Linda Conti (ME Bar No. 3638)
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                                                      Attorney for the Estate of Robert
                                                      Indiana




                                CERTIFICATE OF SERVICE

       I, Bridget A. Zerner, do hereby certify that on January 27, 2022, I served a copy of the
foregoing on all counsel of record via the CM/ECF filing system.

                                             /s/ Bridget A. Zerner
                                             Bridget A. Zerner




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